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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF SOUTH CAROLINA
                               COLUMBIA DIVISION


COLLEEN WITMER, Derivatively on               No. 3:17-cv-03166-MBS
Behalf of SCANA CORPORATION,
                                                              ORDER
                     Plaintiff,
        v.

GREGORY E. ALIFF; SHARON A.
DECKER; LYNNE M. MILLER;
ALFREDO TRUJILLO; JAMES A.
BENNETT; D. MAYBANK HAGOOD;
JAMES W. ROQUEMORE; JOHN F. A. V.
CECIL; KEVIN B. MARSH; and MACEO
K. SLOAN,

                     Defendants,

-and-

SCANA CORPORATION,

                     Nominal Defendant.



Richard Wickstrom,                            No. 3:17-cv-03181-MBS

                     Plaintiff,

        v.

GREGORY E. ALIFF; SHARON A.
DECKER; LYNNE M. MILLER;
ALFREDO TRUJILLO; JAMES A.
BENNETT; D. MAYBANK HAGOOD;
JAMES W. ROQUEMORE; JOHN F. A. V.
CECIL; KEVIN B. MARSH; and MACEO
K. SLOAN,

                     Defendants.
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       This matter is before the court after two shareholder derivative actions were filed with

respect to the abandoned construction project of two nuclear reactors at the V.C. Summer

Nuclear Station in Fairfield County, South Carolina. On January 18, 2018, the court held a

hearing on Plaintiff Collen Witmer and Plaintiff Richard Wikstrom’s (collectively “Plaintiffs”)

motions to (1) consolidate the related actions; (2) appoint Bernstein Liebhard LLP and The

Weiser Law Firm as Co-Lead Counsel; and (3) appoint Bland Richter, LLP and The Hopkins

Law Firm as Co-Liaison Counsel. After hearing from the parties, it is HEREBY ORDERED as

follows:

   1. Pursuant to Federal Rule of Civil Procedure 42(a), Plaintiffs’ motion to consolidate the

       related actions is GRANTED for the purposes of pre-trial and trial.

   2. Plaintiffs’ motion to appoint Bernstein Liebhard LLP and The Weiser Law Firm as Co-

       Lead Counsel is GRANTED.

   3. Plaintiffs’ motion to appoint Bland Richter, LLP and The Hopkins Law Firm as Co-

       Liaison Counsel is GRANTED.

   4. This consolidated action shall be captioned “In re SCANA Corporation Derivative

       Litigation” and the file shall be maintained under File No. 3:17-cv-03166-MBS. All

       other cases related to this matter will be closed. Any future filings shall be filed under

       this lead case only.

   5. Pro hac vice counsel representation for the individual related matters will be transferred

       to the lead case, In re SCANA Corporation Derivative Litigation 3:17-cv-03166-MBS.

   6. Defendants’ counsel shall be entitled to rely upon all agreements made with Plaintiffs’

       Co-Lead Counsel, or any other duly authorized representatives of Plaintiffs’ Co-Lead

       Counsel, and such agreements will be binding on Plaintiffs.



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      7. Plaintiffs will have twenty one (21) days from the filing of this Order to file an amended

         complaint.

      8. Pending the court’s ruling on Defendants’ Motion to Stay Derivative Litigation Pending

         Resolution of Parallel Proceedings, 1 Defendants moved the court to allow Defendants

         thirty (30) days to file their responsive pleading to the amended complaint. Defendants’

         motion is GRANTED.



IT IS SO ORDERED.


                                                        /s/ Margaret B. Seymour
                                                       The Honorable Margaret B. Seymour
                                                       Senior United States District Judge
January 23, 2018
Columbia, South Carolina




1
    Hearing date forthcoming.
                                                  3
